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      Unilever statement on the war in Ukraine
      Published: 13 February 2023

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      We continue to condemn the war in Ukraine as a brutal and senseless act
      by the Russian state.




      Our focus remains on ensuring the wellbeing of our Ukrainian employees and their
      families, including by helping them find safety in nearby countries and by setting up
      accommodation in the west of Ukraine for those who have chosen to stay. We have
      also donated more than €15m of support and essential Unilever products to the
      humanitarian              relief effort.                                                                                  7
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      Since March 2022, we have ceased all imports and exports of our products into and out
      of Russia, and we have stopped all media and advertising spend. We have also ceased
      all capital flows into and out of the country. We continue to supply our everyday food
      and hygiene products made in Russia to people in the country.


      We understand why there are calls for Unilever to leave Russia. We also want to be
      clear that we are not trying to protect or manage our business in Russia. However, for
      companies like Unilever, which have a significant physical presence in the country,
      exiting is not straightforward.


      We have three primary options when assessing the future of our business in Russia.


      The first option would be to try to close down the business, which currently employs
      around 3,000 people across four manufacturing sites and a head office. However, it is
      clear that were we to abandon our business and brands in the country, they would be
      appropriated – and then operated – by the Russian state. In addition, we do not think it
      is right to abandon our people in Russia.


      The second option would be to sell the business, but to date we have not been able to
      find a solution which avoids the Russian state potentially gaining further benefit, and
      which safeguards our people.


      The third option is to allow the business to run with the strict constraints that we put in
      place last March.

      To be clear, none of these options are desirable. Nevertheless, we believe the third
      remains the best option, both to avoid the risk of our business ending up in the hands
      of the Russian state, either directly or indirectly, and to help protect our people.


      We will of course continue to keep this position under close review.




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